
PER CURIAM.
11Denied. We find the Court of Appeal correctly granted the state’s writ application and reversed the trial court’s judgment. See State v. Hamlin, 15-0732 (La.App. 4 Cir. 7/21/15), 174 So.3d 140. Relator does not identify an illegal term in his sentence, and therefore, his filing is properly constnied as an application for post-conviction relief. See State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694. As such, it is subject to the time limitation set forth in La.C.Cr.P. art. 930.8. Relator’s application was not timely filed in the district *1175court, and he fails to carry his burden to show that an exception applies. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189. Moreover, relator’s sentencing claim is not cognizable on collateral review, La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; see also State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030. Finally, relator’s application is repetitive. La.C.Cr.P. art. 930.4.
Relator has now fully litigated at least three applications for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the filing of a successive 12application only under the narrow circumstances provided in La. C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P; art. 930.8. Notably, the Legislature in 2018 La. Acts 261 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accord with La,C.Cr.P., art. 930.6, and this denial is final. Hereafter, unless he can show that one of the harrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
